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                                                      U.S. Department of Justice

                                                      National Security Division


  Counterintelligence and Export Control Section      Washington, D.C. 20530




                                                      September 23, 2022

  By ECF and Courtesy Copy

  Judge Raymond J. Dearie
  United States District Court
   Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11202

  Re:       Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON –
            Motion to Modify Deadlines for Vendor Selection and Contracting and
            Production of Seized Materials

  Dear Judge Dearie:

  The government respectfully moves to modify the Case Management Plan (ECF 106) with
  respect to the deadlines for vendor selection and contracting (Friday, September 23, 2022) and
  production of Seized Materials (Monday, September 26, 2022). ECF 106, at 3. The government
  moves before the September 27, 2022 deadline for objections and motions to adopt or modify
  because the vendor and production deadlines fall before September 27, 2022, and such deadlines
  “remain in effect while such objections are pending.” ECF 106, at 7 & n.2.

  The government suggests that the deadline for vendor selection and contracting be reset for
  Tuesday, September 27, 2022, and the deadline for production of Seized Materials to Friday,
  September 30, 2022.

  Although Plaintiff may be able to select a vendor by the deadline of the close of business today,
  September 23, 2022, Plaintiff is unlikely to be able to engage the vendor by contract until
  Tuesday, September 27, 2022. Collectively, the parties identified six vendors who have the
  capability securely to scan, process, host, and provide access to the Seized Materials to both
  parties on a Relativity platform, with each party to have access to its own private workspace to
  review and code documents. Five vendors were provided by the government to Plaintiff before
  Tuesday’s preliminary conference. Plaintiff identified an additional vendor on Thursday, who the
  government approved on the same day. The government also facilitated Plaintiff’s discussions
  with the vendors by providing the names of vendor representatives and contact information, a
  draft statement of work, and the National Security Division’s Electronically Stored Information
  protocol. As of the close of business on Thursday, September 22, 2022, Plaintiff informed the
  government that one vendor expressed interest in bidding, one did not, and four have not yet
  responded. Even if the one interested vendor commits to the required schedule by the close of
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  business today, Friday, September 23, 2022, it is unlikely that a contract will be entered this
  same day. Accordingly, the government suggests moving the vendor selection and contracting
  deadline back by two business days to Tuesday, September 27, 2022, from the current deadline
  of Friday, September 23, 2022.

  The government’s deadline to produce electronic copies of the Seized Materials (defined to
  exclude documents with classification markings) necessarily follows the vendor selection and
  contracting deadline. As represented before Tuesday’s preliminary conference, the government
  remains prepared to provide the Seized Materials (not including the documents with
  classification markings) to the vendor on approximately one day’s notice in the Washington,
  D.C. metropolitan area and similar notice plus travel time if the vendor is located outside the
  Washington, D.C. metropolitan area. ECF 96, at 2. But as the government noted in its pre-
  conference letter, the Seized Materials can be provided only after the vendor is “selected and
  engaged.” Id. In addition, scanning, processing, and hosting require the vendor to submit to a
  judicial protective order. The government filed its proposed order in a timely fashion after
  Tuesday’s preliminary conference. ECF 102. Plaintiff did not submit its proposed judicial
  protective order until September 23, 2022, however, and the district court has not entered any
  order. To allow the vendor to assign staff and do the work, and the district court to enter a
  judicial protective order, the government suggests moving the deadline for production of
  electronic copies of the Seized Materials to Friday, September 30, 2022, from the current
  deadline of Monday, September 26, 2022.

  Lastly, the government suggests that the Special Master revise the second paragraph on page 3
  (ECF 106, at 3) to clarify the cross-reference to the Detailed Property Inventory and separate the
  process for the Filter Materials (described in the third paragraph on page 4) from the balance of
  the Seized Materials. The second paragraph on page 3 with suggested additions in red and
  omissions in strike-through is as follows:

         No later than September 30 26, 2022, the government shall make available to Plaintiff
         and the Special Master copies of all Seized Materials (except the materials already
         identified by the Privilege Review Team as potentially privileged attorney-client
         materials) in electronic format with each page bearing a unique Bates number. The
         government shall also provide an electronic spreadsheet that: (1) correlates the Bates
         numbers of each document with the pertinent item number (box or container number) in
         the Detailed Property Inventory.; (2) for each document, specifies whether Tthe Privilege
         Review Team has provided to Plaintiff’s counsel and the Special Master designated the
         documents already designated as potentially privileged (the “Filter Materials”), as well as
         a list of those materials with short descriptions and Bates ranges. Further instructions
         regarding the Filter Materials are set forth on page 4.; and (3) for any such potentially
         privileged document, the identifies the nature of the potential privilege.

  Although the government continues to review the Case Management Plan (ECF 106), it currently
  sees no issue with any other deadlines and does not believe that the modest revisions of the
  deadlines for vendor selection and contracting and production of Seized Materials has any
  knock-on effect on the remaining deadlines.



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  We shared an earlier draft of this letter with Plaintiff’s counsel and Plaintiff’s counsel authorized
  us to represent that Plaintiff agrees with the requested extensions to the deadlines for vendor
  selection and contracting and production of Seized Materials. Plaintiff did not see the proposed
  clarifications to the second paragraph on page three and we thus do not know Plaintiff’s position.

  Thank you for your consideration.

                                                Respectfully submitted,


                                                JUAN ANTONIO GONZALEZ
                                                UNITED STATES ATTORNEY

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                                                Assistant Attorney General

                                        By:     /s/
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                                                National Security Division
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 23, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/    Julie A. Edelstein
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